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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

WESTERN DIVISION
JENNIFER MITCHELL, mother and next friend )
of SHIANNE MITCHELL, a minor and )
JENNIFER MITCHELL, individually, )
) Case No.: 09 CV 50167
Plaintiffs, )
) Magistrate: Mahoney
v. ) Judge: Kapala
)
BARRY BARNES, M.D., FREEPORT )
MEMORML HOSPITAL, a corporation, and )
FREEPORT REGIONAL HEALTHCARE )
FOUNDATION, a corporation, )
)
Defendants. )
STIPULATION TO DISMISS

 

NOW COMES the Plaintiff, Jennifer Mitchell, individually and as mother and next friend
of Shianne Mitchell, a minor, by and through her attorneys, Clark, Justen, Zuechi & Frost, Ltd.,
and the Defendants, Barry Barnes, M.D., Freeport Memorial Hospital, a corporation, and
Freeport Regional Healthcare Foundation, a corporation, by and through their attorneys,
Hinshaw & Culbertson LLP, and hereby stipulate and agree that this action shall be dismissed
With prejudice and that an Order of Dismissal With prejudice may be entered by the Court upon
presentment of this Stipulation Without further notice. It is further stipulated and agreed that
each party shall bear their own costs, all costs having been paid.

Barry Barnes, M.D., Freeport Memorial Jennifer Mitchell, individually and as mother
Hospital, a corporation, and Freeport Regional and next B‘iend of Shianne Mitchell, a minor,
Healthcare Foundation, a corporation,

By: Hinshaw & Culbertson LLP

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